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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




IN RE FOREIGN EXCHANGE BENCHMARK RATES                           No. 13 Civ. 7789 (LGS)
ANTITRUST LITIGATION




                                 JOINT PRE-TRIAL ORDER
                                     (August 26, 2022)


A. CASE CAPTION

       The full caption of this action is set forth above.

B. APPEARANCES:

       The names, law firms, addresses, telephone numbers, and email addresses of trial counsel

are as follows:

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C. SUBJECT MATTER JURISDICTION

       This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331

and 1337 and Section 4 of the Clayton Act, 15 U.S.C. § 15.

D. SUMMARY OF CLAIMS TO BE TRIED:

       Claims to be tried:

       This is a class action. The class is represented by named Plaintiffs Aureus Currency

Fund, L.P., The City of Philadelphia, Board of Pensions and Retirement, Employees’ Retirement

System of the Government of the Virgin Islands, Employees’ Retirement System of Puerto Rico

Electric Power Authority, Fresno County Employees Retirement Association, Haverhill

Retirement System, Oklahoma Firefighters Pension and Retirement System, State-Boston

Retirement System, Syena Global Emerging Markets Fund, LP, Systrax Corporation, Tiberius

OC Fund, Ltd., Value Recovery Fund L.L.C., and United Food and Commercial Workers Union

and Participating Food Industry Employers Tri-state Pension Fund. The Defendants in this trial

are Credit Suisse Group AG, Credit Suisse AG, and Credit Suisse Securities (USA) LLC

(collectively “Credit Suisse” or the “CS Defendants”).

       Plaintiffs allege that between December 1, 2007 and December 31, 2013 (the “Class

Period”), Credit Suisse and its conspirators entered into and engaged in a conspiracy to widen,

fix, stabilize, or maintain spreads in the foreign exchange (“FX”) market in violation of Sections

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1 and 3 of the Sherman Antitrust Act, 15 U.S.C. §§1, 3. The Court has certified an issue class

pursuant to F.R.C.P. 23(c)(4) to adjudicate two elements of that claim: “(1) the existence of a

conspiracy to widen spreads in the spot market and (2) the CS Defendants’ participation in the

conspiracy,” on behalf of an “OTC Class” consisting of:

                  All persons who, between December 1, 2007 and December 31, 2013
                  (inclusive) entered into a total of 10 or more FX spot, forward, and/or
                  swap trades directly with one or more Defendants1 in the 52 Affected
                  Currency Pairs2 via voice or on a single-bank platform, where Defendants
                  provided liquidity and such persons were either domiciled in the United
                  States or its territories or, if domiciled outside the United States or its
                  territories, traded in the United States or its territories.3

           Claims that are not to be tried:

           The remaining elements of Plaintiffs’ Sherman Act Section 1 claim (including impact and

damages) are not to be tried.4 Plaintiffs’ claim that the spread widening conspiracy in the FX spot

market manipulated the prices of FX futures contracts and options, in violation of Sections 1 and

3 of the Sherman Act, 15 U.S.C. §1, 3, and the Commodity Exchange Act, 7 U.S.C. §§1 et. seq.,

is not to be tried.



1
 The CS Defendants and Bank of America Corporation, Bank of America, N.A., and Merrill Lynch,
Pierce, Fenner & Smith Inc.; Bank of Tokyo Mitsubishi UFJ Ltd.; Barclays Bank PLC, Barclays Capital
Inc.; BNP Paribas Group, BNP Paribas North America, Inc., BNP Paribas Securities Corp., BNP Prime
Brokerage, Inc.; Citigroup Inc., Citibank, N.A., Citicorp, Citigroup Global Markets Inc.; Deutsche Bank
AG, Deutsche Bank Securities Inc.; Goldman Sachs Group, Inc., Goldman, Sachs & Co.; HSBC Holdings
PLC, HSBC Bank PLC, HSBC North America Holdings, Inc., HSBC Bank USA, N.A., HSBC Securities
(USA) Inc.; JPMorgan Chase & Co., JPMorgan Chase Bank, N.A.; Morgan Stanley, Morgan Stanley &
Co., LLC, and Morgan Stanley & Co. International plc; RBC Capital Markets LLC; Royal Bank of
Scotland Group PLC, RBS Securities, Inc.; Société Générale S.A.; Standard Chartered Bank; UBS AG,
UBS Group AG, and UBS Securities LLC.
2
    See Notice of Certified Litigation Class (ECF No. 1509-2) (Sept. 30, 2020) at 4-5.
3
    Id. at 1.
4
 The parties continue to confer regarding whether the interstate commerce element will be tried in the
October trial and may seek the Court’s guidance.


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E. TRIAL OF THE CASE

        Plaintiffs and Credit Suisse demand a jury trial.

        Pursuant to the Court Order dated August 24, 2022 (“Trial Management Order”), a jury

trial of this case is scheduled to begin on October 11, 2022. ECF No. 1840.5 The parties will

have 16 hours each for opening statements, and direct and cross examination. The parties

estimate that the trial will take two weeks.

F. CONSENT TO MAGISTRATE:

        The parties do not consent to trial by a magistrate judge.

G. WITNESS LISTS

        For Plaintiffs:

        The following charts contain Plaintiffs’ current good faith list of witnesses they will and

may call at trial. The chart also includes a brief description of each witness and their expected

testimony along with an estimate of the expected length of time Plaintiffs will need to question

that witness in their case-in-chief (i.e., an estimate of time for direct examination of live witnesses

or affirmative designations for deposition witnesses).

        Plaintiffs have not included certain witnesses whom Credit Suisse have indicated they

intend to call in their case-in-chief. Plaintiffs will conduct their examination of those witnesses




5
  The parties are in receipt of the Court’s Trial Management Order dated August 24, 2022 and are
evaluating how it will affect their trial presentations and reserve rights to supplement or change the
components of this Joint Proposed Pretrial Order in response to that Order. Credit Suisse states that it has
not had adequate time since the Trial Management Order to implement the major changes to its witness
list, exhibit list, and deposition designations that the Trial Management Order would require, particularly
as Credit Suisse’s defense is necessarily responsive to the case Plaintiffs will present. Credit Suisse
reserves the right to seek an adjournment of the trial date and/or to seek reconsideration of the Trial
Management Order.


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when Credit Suisse call them. Plaintiffs reserve the right to add such witnesses to their case-in-

chief if Credit Suisse do not call them as witnesses.

       Pursuant to the Court’s Trial Management Order, Plaintiffs estimate they will need roughly

16 hours of trial time.

       Plaintiffs’ Will Call List

                                                                                Anticipated
                                                                                 Length of
      Witness Name                               Summary
                                                                                Examination
                                                                                 (in hours)
                            Eric Robin is an expert on the FX industry. Mr.
                            Robin will testify about (1) the basics of the FX
                            market and FX trading, with primary emphasis
                            on FX spot transactions; and (2) what a “spread”
 Eric Robin (Live)                                                                  1.5
                            is in FX trading and how spreads constitute
                            market makers’ source of profit and customers’
                            cost of trading; (3) the durability of and
                            correlations across spreads.
                            Hal Singer is an expert in antitrust economics.
                            Mr. Singer will testify about (1) his structure
                            analysis of the FX market which shows FX
                            market is characterized by conditions conducive
                            to collusion; (2) his conduct analysis of
                            electronic communications among Defendant
 Hal Singer (Live)          banks which shows Defendant banks routinely             2.5
                            communicated customer spreads and Credit
                            Suisse participated in such communications; and
                            (3) his performance analysis which shows that
                            the bid-ask spreads widened during the Class
                            Period and narrowed once multibank chatrooms
                            closed.




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                                                                           Anticipated
                                                                            Length of
     Witness Name                         Summary
                                                                           Examination
                                                                            (in hours)
                      Jason Katz traded FX at BNP Paribas and
                      Barclays during the Class Period. Mr. Katz
                      participated in multiple chat rooms with FX
                      traders from competitor banks and pleaded guilty
                      to price fixing. He will testify about (1) his
Jason Katz (Live)                                                              1
                      knowledge of the FX market; (2) his chat room
                      communications with FX traders from
                      competitor banks; and (3) guilty pleas and his
                      knowledge of other FX traders’ conduct in the
                      FX market during the Class Period.


                      Keith Underwood was Credit Suisse’s FX
                      industry expert at the class certification stage.
                      Mr. Underwood was also the Head of FX trading
Keith Underwood
                      at Standard Chartered during the Class Period.           1
(Live)
                      He will testify about his knowledge of the FX
                      market and the conduct of FX traders in
                      multibank chat rooms during the Class Period.


                      Peter Little traded FX at Credit Suisse, HSBC,
                      and Barclays during the Class Period. Mr. Little
                      served as Barclays’ Head of G10 FX Spot
                      trading in New York; HSBC’s Head of G10 FX
                      Trading, and Credit Suisse’ Director of FX Spot
                      Trading. Mr. Little and the traders under Mr.
Peter Little (Live)   Little’s supervision participated in multiple chat      0.75
                      rooms with FX traders from competitor banks.
                      He will testify about (1) his knowledge of the FX
                      market; (2) his chat room communications with
                      FX traders from competitor banks; and (3) his
                      knowledge about the conduct and chat room
                      communications of traders under his supervision.




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                                                                         Anticipated
                                                                          Length of
    Witness Name                        Summary
                                                                         Examination
                                                                          (in hours)
                    Angus Greig traded FX at Deutsche Bank and
                    HSBC during the Class Period. Angus Greig was
                    Deutsche Bank’s former FX Chief Dealer. Mr.
                    Greig and the traders under Mr. Greig’s
                    supervision participated in multiple chat rooms
Angus Greig
                    with FX traders from competitor banks. He will
(Deposition                                                                  0.5
                    testify about (1) his knowledge of the FX
Designation)
                    market; (2) his chat room communications with
                    FX traders from competitor banks; and (3) his
                    knowledge about the conduct and chat room
                    communications of the traders under his
                    supervision.

                    Daniel Wise traded FX at Credit Suisse and
                    Barclays during the Class Period. Mr. Wise was
                    the former Managing Director of FX spot trading
                    for Barclays in London and the former Global
                    Head FX Spot GCEM trading for Credit Suisse.
                    Mr. Wise and the traders under Mr. Wise’s
                    supervision participated in multiple chat rooms
Daniel Wise
                    with FX traders from competitor banks. Plaintiffs
(Deposition                                                                  0.3
                    will ask Mr. Wise about (1) his knowledge of the
Designation)
                    FX market; (2) his chat room communications
                    with FX traders from competitor banks; (3) his
                    knowledge about the conduct and chat room
                    communications of the traders under his
                    supervision. Mr. Wise will invoke his Fifth
                    Amendment privilege against self-incrimination
                    in response to Plaintiffs’ questions.

                    Edward Pinto traded FX at HSBC during the
                    Class Period. Mr. Pinto participated in multiple
                    chat rooms with FX traders from competitor
Edward Pinto        banks. Plaintiffs will ask Mr. Pinto about (1) his
(Deposition         knowledge of the FX market; and (2) his chat             0.2
Designation)        room communications with FX traders from
                    competitor banks. Mr. Pinto will invoke his Fifth
                    Amendment privilege against self-incrimination
                    in response to Plaintiffs’ questions.



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                                                                         Anticipated
                                                                          Length of
    Witness Name                        Summary
                                                                         Examination
                                                                          (in hours)

                    Jamie Lawes traded FX at Credit Suisse and
                    Bank of America during the Class Period. Mr.
Jamie Lawes         Lawes participated in multiple chat rooms with
(Deposition         FX traders from competitor banks. He will                0.5
Designation)        testify about (1) his knowledge of the FX
                    market; and (2) his chat room communications
                    with FX traders from competitor banks.


                    John Erratt traded FX at Barclays and Credit
                    Suisse during the Class Period. Mr. Erratt
                    participated in multiple chat rooms with FX
                    traders from competitor banks. Plaintiffs will ask
John Erratt
                    Mr. Erratt about (1) his knowledge of the FX
(Deposition                                                                  0.3
                    market; and (2) his chat room communications
Designation)
                    with FX traders from competitor banks. Mr.
                    Erratt will invoke his Fifth Amendment privilege
                    against self-incrimination in response to
                    Plaintiffs’ questions.


                    Matthew Gardiner traded FX at Barclays, UBS,
                    and Standard Chartered during the Class Period.
                    Mr. Gardiner participated in multiple chat rooms
Matthew Gardiner    with FX traders from competitor banks. He will
(Deposition         testify about (1) his knowledge of the FX                1
Designation)        market; (2) his chat room communications with
                    FX traders from competitor banks; and (3) his
                    knowledge of the guilty pleas entered by
                    Barclays and UBS.




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                                                                             Anticipated
                                                                              Length of
    Witness Name                            Summary
                                                                             Examination
                                                                              (in hours)
                         Mitesh Parikh traded FX at Goldman Sachs
                         during the Class Period. Mr. Parikh participated
                         in multiple chat rooms with FX traders from
                         competitor banks. Plaintiffs will ask Mr. Parikh
Mitesh Parikh
                         about (1) his knowledge of the FX market; and
(Deposition                                                                      0.2
                         (2) his chat room communications with FX
Designation)
                         traders from competitor banks. Mr. Parikh will
                         invoke his Fifth Amendment privilege against
                         self-incrimination in response to Plaintiffs’
                         questions.

                         Rohan Ramchandani traded FX at Citi during the
                         Class Period. Mr. Ramchandani participated in
                         multiple chat rooms with FX traders from
                         competitor banks. Plaintiffs will ask Mr.
Rohan Ramchandani
                         Ramchandani about (1) his knowledge of the FX
(Deposition                                                                      0.5
                         market; and (2) his chat room communications
Designation)
                         with FX traders from competitor banks. Mr.
                         Ramchandani will invoke his Fifth Amendment
                         privilege against self-incrimination in response
                         to Plaintiffs’ questions.


                         Stuart Dunn traded FX at Deutsche Bank,
                         Société Générale, and RBC during the Class
Stuart Dunn              Period. Mr. Dunn participated in multiple chat
(Deposition              rooms with FX traders from competitor banks.            0.5
Designation)             He will testify about (1) his knowledge of the FX
                         market; and (2) his chat room communications
                         with FX traders from competitor banks.

                         Oklahoma Firefighters is a class representative
A Representative for     of the OTC class. A corporate representative of
Oklahoma Firefighters    Oklahoma Firefighters will testify about
Pension and Retirement   Oklahoma Firefighters’ responsibilities as the          0.2
System (“Oklahoma        class representative and Oklahoma Firefighters’
Firefighters”) (Live)    FX trading with Defendant banks, including
                         Credit Suisse.




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                                                                                       Anticipated
                                                                                        Length of
        Witness Name                                Summary
                                                                                       Examination
                                                                                        (in hours)
    Witness to Attest to      Plaintiffs’ FRE 1006 Witness will testify
    FRE 1006 Summary          regarding the accuracy of the data and
                                                                                             0.3
    Exhibit(s)                information compiled in the FRE 1006 Summary
    (Live)                    Exhibit(s).
                              Plaintiffs will ask permission to present to the
                              jury a one paragraph summary for the following
                              Fifth Amendment depositions: David Bowen,
                              Eduardo Hargreaves, James Mullaney, Michael
                              Keogh, Julian Munson, James Wynne, Paul
                              Nash, Christopher Ashton, Richard Usher,
    Summary of Fifth
                              Russell Katz, Mark Clark, Luxshan Thiagarajah,
    Amendment                                                                                .25
                              Michael Weston, Fr, Akshay Aiyer Fank Cahill,
    Depositions
                              Roger Boehler, Clark Read, Robert DeGroot,
                              Carly McWilliams Hosler, and Niall O’Riordan.6

                              See- Oostendorp v. Khanna, 937 F.2d 1177,
                              1179 (7th Cir. 1991

                           TOTAL WILL CALL TIME                                             11.5


          Plaintiffs’ May Call List

                                                                                       Anticipated
                                                                                        Length of
        Witness Name                                Summary
                                                                                       Examination
                                                                                        (in hours)
    A Representative of
    Board of Pensions and
    Retirement,               Virgin Islands is a class representative of the
    Employees’ Retirement     OTC class. A corporate representative of Virgin
    System of the             Islands will testify about Virgin Islands’
    Government of the         responsibilities as the class representative and
    Virgin Islands (“Virgin   UFCW’s FX trading with Defendant banks,
    Islands”) (Live)          including Credit Suisse.                                       0.2



6
 Credit Suisse objects to this Request for the reasons set forth in the Credit Suisse Defendants’ Motion in
Limine No. 2 to Exclude the Testimony of Persons Invoking their Fifth Amendment Protection Against
Self-Incrimination (ECF 1714)


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                                                                                Anticipated
                                                                                 Length of
    Witness Name                              Summary
                                                                                Examination
                                                                                 (in hours)

                          Joseph Landes traded FX at Bank of America
                          during the Class Period. Mr. Landes participated
                          in multiple chat rooms with FX traders from
                          competitor banks. Plaintiffs will ask Mr. Landes
                          about (1) his knowledge of the FX market; and
Joseph Landes (Live)                                                                0.5
                          (2) his chat room communications with FX
                          traders from competitor banks. Plaintiffs expect
                          Mr. Landes to invoke his Fifth Amendment
                          privilege against self-incrimination in response to
                          Plaintiffs’ questions.


                          Christopher Hatton traded FX at HSBC and
                          Credit Suisse during the Class Period. Mr. Hatton
                          participated in multiple chat rooms with FX
Christopher Hatton
                          traders from competitor banks. He will testify            1
(Live)
                          about (1) his knowledge of the FX market; and
                          (2) his chat room communications with FX
                          traders from competitor banks.

                          Christopher Cummins traded FX at Citibank
                          during the Class Period. Mr. Cummins
                          participated in multiple chat rooms with FX
                          traders from competitor banks and pleaded guilty
Christopher Cummins       to price fixing. He will testify about (1) his
                                                                                    1
(Live)                    knowledge of the FX market; (2) his chat room
                          communications with FX traders from competitor
                          banks; and (3) his guilty plea and his knowledge
                          of other FX traders’ conduct in the FX market
                          during the Class Period.

                         Natalie Williams traded FX at Credit Suisse
                         during the Class Period. Ms. Williams
                         participated in multiple chat rooms with FX
                         traders from competitor banks. She will testify
Natalie Williams         about (1) her knowledge of the FX market; and
(Deposition              (2) her chat room communications with FX
Designation)             traders from competitor banks.                             0.3
                       TOTAL MAY CALL TIME                                           3



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        For Credit Suisse: 7

        The following charts contain Credit Suisse’s current good faith lists of witnesses Credit

Suisse will call and may call at trial. The charts also include (1) brief descriptions of each

witness’s expected testimony, and (2) an estimate of the amount of time Credit Suisse will need

to question that witness in its affirmative case (i.e., an estimate of time for direct examination of

live witnesses or affirmative designations for deposition witnesses, not cross-examination or

cross-designations).

        Credit Suisse has not included certain witnesses that Plaintiffs have indicated they intend

to call in their case-in-chief. Credit Suisse reserves the right to add such witnesses to its lists if

Plaintiffs do not call them.


                                          Credit Suisse Will Call List
        Witness Name                                                                    Time Estimate
         / Manner of                     Description of Testimony
        Appearance                                                                    (Direct + Redirect)

        Witness re:          Testimony regarding FRE 1006 summary of                  1 hour
        FRE 1006             evidence.
        Summary
        Altadonna,           Testimony regarding his role as a trader in FX           1 hour
        John                 marketplace at market-making bank.
        (Live)
        Condie, Niall        Testimony regarding his FX supervisory/                  2 hours
        (Live)               management role at Credit Suisse during
                             relevant period.




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  Credit Suisse’s exhibit list, deposition designations, and witness list were developed prior to receiving
the Trial Management Order and are based on the parties’ meet and confer discussions over the past few
months as to the exhibits, witnesses, and deposition designations Plaintiffs indicated they would seek to
present at trial. Credit Suisse is working to revise its expected trial presentation consistent with the Trial
Management Order, and Plaintiffs’ recent revisions to their intended presentation following that Order,
and Credit Suisse will provide revised lists, including revised time estimates, as soon as practical.


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                             Credit Suisse Will Call List
Kleidon, Allan   Expert testimony regarding flaws in Plaintiffs’   2 hours
(Live)           expert analyses, and empirical analysis of
                 trading in the FX marketplace.
Mathur, Divya    Expert testimony regarding the non-             4 hours
(Live)           susceptibility of the FX marketplace to
                 collusion, information sharing in the FX
                 marketplace, spread matrix submissions by
                 Defendants, flaws in Dr. Singer’s analyses, and
                 economic rationales behind decisions to settle
                 litigation.
Melvin,          Expert testimony regarding FX trading, the        4 hours
Michael          structure of the FX marketplace and relevant
(Live)           features, flaws in Plaintiffs’ expert analyses,
                 and information sharing in the FX
                 marketplace.
BlackRock        Testimony regarding authentication of             .5 hours
representative   materials produced by Blackrock.
(Live)
Walker, Brian    Testimony regarding his role as a trader in FX    2 hours
(Live)           marketplace at market-making bank.
Yanez, Steve     Testimony regarding his FX supervisory/           2 hours
                 management role at Credit Suisse during
(Live)
                 relevant period.
Andrew,          Testimony regarding roles of trader in FX         0:38:01
Gordon           marketplace at market-making bank.
(Designation)
Connors, Kevin Testimony regarding roles of trader in FX           0:08:09
               marketplace at market-making bank.
(Designation)
Dunn, Stuart     Testimony regarding roles of trader in FX         0:49:01
                 marketplace at market-making bank.
(Designation)
Drysdale, Ian    Testimony regarding roles of trader in FX         0:21:21
                 marketplace at market-making bank.
(Designation)
Gardiner,        Testimony regarding roles of trader in FX         1:17:20
Matthew          marketplace at market-making bank.
(Designation)



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                             Credit Suisse Will Call List
Gibbons,          Testimony regarding roles of trader in FX           0:41:53
Richard           marketplace at market-making bank.
(Designation)
Greig, Angus      Testimony regarding roles of trader in FX           0:36:39
                  marketplace at market-making bank.
(Designation)
Katz, Andre       Testimony regarding roles of trader in FX           0:27:10
                  marketplace at market-making bank.
(Designation)
King, Graeme      Testimony regarding roles of trader in FX           0:53:03
                  marketplace at market-making bank.
(Designation)
Lawes, Jamie      Testimony regarding roles of trader in FX           01:13:17
                  marketplace at market-making bank.
(Designation)
Leighton, Mike    Testimony regarding roles of trader in FX           0:55:33
                  marketplace at market-making bank.
(Designation)
Williams,         Testimony regarding roles of trader in FX           0:36:17
Natalie           marketplace at market-making bank.
(Designation)
Witt, James       Testimony regarding roles of trader in FX           1:56:49
                  marketplace at market-making bank.
(Designation)
                                 TOTAL WILL CALL TIME: 29.1 hours


                             Credit Suisse May Call List

  Witness Name /                                                        Time Estimate
   Manner of                   Description of Testimony                    (Direct +
   Appearance                                                              Redirect)
                       Credit Suisse reserves the right to call any
                       witness listed on Plaintiffs’ Will or May
                       call Witness Lists.
Brunner, Simon         Testimony regarding his role as an FX          1 hour
(Live)                 salesperson at market-making bank.
Callaghan, John        Testimony regarding his role as a trader in    1 hour
                       FX marketplace at market-making bank.
(Live)



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                             Credit Suisse May Call List
Dima, Brett (Live)     Testimony regarding his role as an FX         1 hour
                       salesperson at market-making bank.
Hatton, Christopher    Testimony regarding his role as a trader in   1 hour
(Live)                 FX marketplace at market-making bank.
Howarth, Braden        Testimony regarding his role as an FX         1 hour
(Live)                 salesperson at market-making bank.
Jones, Robert (Live)   Testimony regarding trading as buy-side       1 hour
                       FX marketplace participant and role as
                       class representative.
Krupkin, Michael       Testimony regarding his role as a trader in   1 hour
(Live)                 FX marketplace at market-making bank.
McCrary, Justin        Expert testimony regarding errors in Dr.      1 hour
                       Singer’s regression analysis.
(Live)
Munley, John           Testimony regarding his role as a trader in   1 hour
                       FX marketplace at market-making bank.
(Live)
Napoli, Anthony        Testimony regarding his role as an FX         1 hour
(Live)                 salesperson at market-making bank.
Reardon, Regina        Testimony regarding trading as buy-side       1 hour
(Live)                 FX marketplace participant and role as
                       class representative.
Sirowich, Paula        Testimony regarding her role as an FX         1 hour
(Live)                 salesperson at market-making bank.
Custodian(s) of                                                      .5 hours
Records/Corporate
Representative(s) of
Bank of America
(Live)
Custodian(s) of                                                      .5 hours
Records/Corporate
Representative(s) of
Bank of Tokyo-
Mitsubishi
(Live)
Custodian(s) of                                                      .5 hours
Records/Corporate



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                       Credit Suisse May Call List
Representative(s) of
Barclays
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
BNP Paribas
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
Citi
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
Credit Suisse
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
Deutsche Bank
(Live)
Custodian of                                         .5 hours
Records/Corporate
Representative of
Goldman Sachs
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
HSBC
(Live)
Custodian of                                         .5 hours
Records/Corporate
Representative of
J.P. Morgan


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                       Credit Suisse May Call List
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
Morgan Stanley
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
Royal Bank of
Canada
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
Scotland/ Natwest
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
Societe Generale
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
Standard Chartered
(Live)
Custodian(s) of                                      .5 hours
Records/Corporate
Representative(s) of
UBS
(Live)
                            TOTAL MAY CALL TIME: 19.5 hours




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H. DEPOSITION DESIGNATIONS

       ’The parties have jointly requested permission to provide the following deposition

materials to the Court via FTP link:

              Exhibit A: A PDF file containing the designations for each witness affirmatively

               designated by Plaintiffs along with the related counter-designations and objections

               from Credit Suisse. This PDF is organized by witness in alphabetical order with a

               slip sheet between the designations for each witness. Plaintiffs’ designations

               and objections are identified in yellow; Credit Suisse’s designations and objections

               are identified in blue.

              Exhibit B: A PDF file containing the designations for each witness affirmatively

               designated by Credit Suisse along with the related counter-designations and

               objections from Plaintiffs. This PDF is organized by witness in alphabetical order

               with a slip sheet between the designations for each witness. Plaintiffs’ designations

               and objections are identified in yellow; Credit Suisse’s designations and objections

               are identified in blue.

              Deposition Excerpts Folder: A folder with separate PDF files for each witness

               transcript designated by one or both parties. Within the folder, and consistent with

               Individual Rule IV.b.2(g), the Court will find a PDF file containing a highlighted

               and excerpted transcript for each witness with relevant parts marked to show the

               dispute. Plaintiffs’ designations and objections are identified in yellow; Credit

               Suisse’s designations and objections are identified in blue.

       The parties reserve the right to modify, withdraw, amend, or add to their deposition

designations prior to and during trial.


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           In light of the Court’s Trial Management Order, the parties are working to narrow the

   designations and the objections that the Court will need to resolve before or at trial.

   I. PROPOSED EXHIBITS AND DEMONSTRATIVE AIDS; OBJECTIONS TO
      PROPOSED EXHIBITS

           Plaintiffs’ Exhibit List, including Credit Suisse’s objections thereto, is attached as Tab 1

   hereto. Credit Suisse’s Exhibit List, including Plaintiffs’ objections thereto, is attached as Tab 2

   hereto. As set forth in ECF No. 1837, the parties anticipate using FRE 1006 summaries and

   demonstratives in support of their respective cases in chief and propose to submit a joint trial

   procedures stipulation to the Court two weeks before the final pre-trial conference.

           Subject to the documents being admitted into evidence, the parties reserve the right to use

   affirmatively the documents identified on either party’s exhibit list.

   J. WRITTEN DISCOVERY RESPONSES AND OBJECTIONS

           For Plaintiffs:

           Plaintiffs do not intend to offer any written discovery responses into evidence.

           For Credit Suisse:


        Defendants’                        Plaintiffs’ Response                     Plaintiffs’ Objections
       Interrogatory
1) Do You contend that        Plaintiffs allege that Credit Suisse and its co-    Partial designation (FRE
Defendants entered into       conspirators engaged in a conspiracy to fix         106); Irrelevant (FRE 401
an unlawful agreement         prices customers paid to trade FX or otherwise      & 402); Unfair prejudicial,
with each other to fix bid-   increase customers’ trading costs by artificially   confusing the issues, (FRE
ask spreads? If Your          widening spreads they charged through the           403).
response is anything other    exchange and exploitation of price-driving
than an unqualified “no:”     competitive sensitive information (“CSI”) in
(a) identify every entity     chatrooms, as well as other means of
and person whom you           communication. Defendants engaged in a
believe participated in the   single overarching combination, agreement,
alleged unlawful              and/or understanding to fix FX prices by
agreement and the specific    artificially widening spreads on FX spot,
date (day, month, year)       forward, and swap transactions in at least 52

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        Defendants’                        Plaintiffs’ Response                     Plaintiffs’ Objections
       Interrogatory
when that entity or person    currency pairs, from at least December 1, 2007
became a participant in       until December 31, 2013. The conspiracy was
the alleged unlawful          effectuated by a widespread scheme amongst
agreement, (b) describe in    FX trader employees of Defendants (“FX
detail every act that each    traders”) to exchange and exploit CSI for their
such entity and person        own benefit and to the detriment of class
took to manifest its          members in electronic chatrooms and by other
decision to join the          means (“collusive conduct”). Defendants’
alleged unlawful              conspiracy was effectuated through their FX
agreement, (c) state every    traders, whose myriad chats over the course of
alleged object or result of   several years evidence a conscious
the alleged unlawful          commitment to a common course of price
agreement, and (d) state      fixing.
with particularity the
precise terms of the
alleged unlawful
agreement, including any
changes therein during the
Class Period.
2) State whether You          Plaintiffs allege that Credit Suisse and its co-    Partial designation (FRE
contend that the alleged      conspirators engaged in a conspiracy to fix         106); Irrelevant (FRE 401
unlawful agreement            prices customers paid to trade FX or otherwise      & 402); Unfair prejudicial,
included a specific           increase customers’ trading costs by artificially   confusing the issues, (FRE
agreement regarding the       widening spreads they charged through the           403).
percentage, pips, or other    exchange and exploitation of price-driving
quantitative measure by       competitive sensitive information (“CSI”) in
which to fix spreads, and     chatrooms, as well as other means of
identify the facts and        communication. Defendants engaged in a single
evidence that form the        overarching combination, agreement, and/or
basis for Your contention,    understanding to fix FX prices by artificially
including identifying the     widening spreads on FX spot, forward, and
percentage, pips or other     swap transactions in at least 52 currency pairs,
quantitative measures that    from at least December 1, 2007 until December
Defendants agreed upon        31, 2013. The conspiracy was effectuated by a
for each currency pair, FX    widespread scheme amongst FX trader
instrument type, and size     employees of Defendants (“FX traders”) to
transaction that you          exchange and exploit CSI for their own benefit
contend was part of the       and to the detriment of class members in
unlawful agreement.           electronic chatrooms and by other means
                              (“collusive conduct”). Defendants’ conspiracy
                              was effectuated through their FX traders, whose
                              myriad chats over the course of several years
                              evidence a conscious commitment to a common
                              course of price fixing.

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 Defendants’                   Plaintiffs’ Response                    Plaintiffs’ Objections
Interrogatory

                 Although they sometimes did, Defendants did
                 not need to agree on a specific amount for each
                 transaction, currency pair, FX instrument type,
                 or size of transaction in order to fix prices by
                 artificially widening spreads. Instead,
                 Defendants’ conspiracy, and acts in furtherance
                 thereof, had a market-wide effect of widening
                 and/or stabilizing FX spreads on virtually all
                 transactions within the market. In some
                 instances, Defendants explicitly agreed upon
                 the “right spread” to quote their customers. But
                 Defendants’ price fixing was effectuated and
                 reinforced by more than individualized
                 discussions and agreements about specific
                 spreads to quote. Rather, as discussed in the
                 Response to Defendants’ Interrogatory No. 4
                 and in the expert reports of Eric Robin and
                 Robin Poynder, spreads are relatively stable
                 over time. Merits Report of Eric Robin (January
                 23, 2020) (“Robin Merits Report”) at ¶¶ 24, 47;
                 Reply Report of Robin Poynder (August 13,
                 2020) (“Poynder Reply Report”) at ¶ 26.
                 Therefore traders agreed upon an acceptable
                 range of spreads through their collusive
                 conduct, and once acceptable spreads were
                 established, traders did not need to continually
                 communicate to know what spread to quote for
                 each and every client transaction. Rather,
                 traders could simply “check in” with each other
                 intermittently to ensure they were quoting
                 similar spreads. Moreover, as discussed in the
                 Response to Defendants’ Interrogatory No. 4
                 and in the expert reports of Eric Robin and
                 Robin Poynder, the spreads quoted by traders in
                 one currency pair correlated with other
                 currencies pairs such that, e.g., fixing the spread
                 in EUR/USD also had the effect of stabilizing
                 or widening spreads in EUR/GBP and
                 GBP/USD. Merits Report of Robin Poynder
                 (January 23, 2020) (“Poynder Merits Report”)
                 at ¶ 74; Robin Merits Report ¶ at 74. Also,
                 fixing the spreads in 50 million EUR/USD
                 would result in stabilizing or widening spreads

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       Defendants’                          Plaintiffs’ Response                    Plaintiffs’ Objections
      Interrogatory
                              in 10 million, 100 million, and 200 million
                              EUR/USD. Because of these horizontal
                              correlations among currency pairs and vertical
                              correlations by trade size, Defendants’ traders
                              did not need to fix the spread of every trade to
                              stabilize or widen spreads across the market.

                             Further, Defendants, including Credit Suisse,
                             regularly shared and agreed on spreads for their
                             internal spread matrices or grids—a pricing
                             matrix typically prepared upon a customer’s
                             request or provided to the customer on a
                             scheduled basis that lists what spread, in normal
                             market conditions, a dealer bank would
                             anticipate quoting in a specified quantity of a
                             specified currency pair. Spread matrices
                             generally covered a number of currency pairs at
                             different amounts. Spread matrices often lasted
                             several months before being updated. Spread
                             matrices were built by dealer banks in such a
                             way that although indicative, customer spreads
                             remain valid—or executable—the vast majority
                             of the time. Defendants used the matrices as a
                             price floor for customers. By agreeing on prices
                             to include in spread matrices, Defendants did
                             not need to communicate about what spread to
                             quote on each transaction, but were instead able
                             to refer to their agreed-upon matrices to
                             reference the price-fixed spread to quote.
4) Identify all means or     Traders generally operated under a discreet          Partial designation (FRE
mechanisms by which          “gentleman’s agreement,” under which traders         106); Irrelevant (FRE 401
Defendants coordinated       understood that if they provided one another         & 402); Unfair prejudicial,
and maintained the alleged with information in chatrooms, in response,            confusing the issues, (FRE
unlawful agreement across they would receive information from other               403).
all relevant dimensions      traders. Traders also explicitly agreed to collude
during the Class Period,     on spreads. The mutual exchange of
including but not limited to information allowed them to coordinate
the FX instruments,          behavior and fix prices.
currency pairs, trade sizes,
customer types, and trade    Among the means and mechanisms Defendants
venues included in the       used to fix prices by artificially widening
alleged unlawful             spreads, traders: (a) coordinated trading; (b)
agreement.                   shared customer order flow information,
                             including customer identities; (c) explicitly

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 Defendants’                   Plaintiffs’ Response                   Plaintiffs’ Objections
Interrogatory
                 agreed on spreads to quote to customers; (d)
                 threated to and removed traders from chatrooms
                 who did not participate in the conspiracy; (e)
                 maintained close personal relationships with
                 traders from other Defendant banks; and (f)
                 actively concealed their activities. The
                 examples cited above are not exhaustive but
                 merely illustrative, and Plaintiffs will introduce
                 into evidence additional examples at trial.
                 Traders engaged in chatroom conversations on
                 a near daily basis, which allowed them to not
                 only coordinate on individual transactions, but
                 create an environment in which all FX
                 transactions were affected by the conspiracy.
                 This conduct, as a whole, had the effect of
                 fixing prices by artificially widening spreads on
                 FX instruments.

                 The conspiracy was self-reinforcing. As stated
                 in the Merits Reports of Eric Robin, Robin
                 Poynder, and Hal J. Singer, Ph.D. (January 23,
                 2020) (“Singer Merits Report”), spreads tend to
                 be durable over time so long as underlying
                 market conditions remain stable. Therefore,
                 traders agreed upon an acceptable range of
                 spreads through their collusive conduct, and
                 once acceptable spreads were established,
                 traders did not need to continually communicate
                 to know what spread to quote for each and
                 every client transaction. Rather, traders could
                 simply “check in” with each other intermittently
                 to ensure they were quoting similar spreads.
                 Moreover, the spreads quoted by traders in one
                 currency pair correlated with other currencies
                 pairs such that, e. g., fixing the spread in
                 EUR/USD also had the effect of stabilizing or
                 widening spreads in EUR/GBP and GBP/USD.
                 Also, fixing the spreads in 50 million
                 EUR/USD would result in stabilizing or
                 widening spreads in 10 million, 100 million and
                 200 million EUR/USD. Because of these
                 horizontal correlations among currency pairs
                 and vertical correlations by trade size, FX
                 traders’ widening the spread for one currency

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 Defendants’                  Plaintiffs’ Response                  Plaintiffs’ Objections
Interrogatory
                 pair and notional amount caused a market-wide
                 impact.

                 Beyond self-reinforcement of individual
                 spreads in individual chatrooms, traders were
                 aware that the collusive conduct was pervasive
                 throughout the FX market. Traders did not need
                 to participate in, or even know about every
                 chatroom or every conversation that was part of
                 the conspiracy; instead, traders had general
                 knowledge of the “gentleman’s agreement” that
                 pervaded throughout the market. Although
                 traders could have determined the appropriate
                 spreads to quote to customers through iterative
                 quotes with customers themselves, traders
                 instead determined the spreads to quote
                 customers by asking competitors in chatrooms.

                 Traders were not siloed in separate chatrooms,
                 hermetically sealed from other traders in other
                 chats. Rather, the hundreds of traders
                 participated in, collectively, thousands of
                 chatrooms, with many traders participating in
                 up to dozens of chatrooms at one time. They
                 could and did blast information from one chat
                 room into numerous other chatrooms. Traders
                 were also connected socially, they formed
                 personal relationships with traders at other
                 banks through social engagements. They
                 commuted, celebrated, vacationed, played, ate
                 and drank with one another. Traders frequently
                 moved between competitor banks, while
                 generally maintaining their personal and
                 professional relationships. In short, traders
                 trusted one another, such that they did not need
                 to constantly communicate in order to maintain
                 and enforce the conspiracy. They were “mates”
                 who did not see one another as competitors.
                 There is a “strong market convention” among
                 FX traders that they do not disadvantage the
                 person who is sharing information. Together, all
                 of these mechanisms created an efficient
                 network through which the Defendants
                 maintained the conspiracy.

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       Defendants’                          Plaintiffs’ Response                     Plaintiffs’ Objections
      Interrogatory
                              Defendants’ traders also worked to the conceal
                              the conspiracy, thereby allowing it to continue
                              undetected. They used code words and other
                              methods to conceal their conspiracy and evade
                              surveillance. Traders also used phone calls, text
                              messages, and in-person meetings to avoid
                              surveillance. Finally, traders punished
                              participants who did not share enough
                              information. Defendants’ efforts to coordinate
                              trading, share market-critical information,
                              explicitly agree upon spreads, threaten to and
                              remove traders from chatrooms who did not
                              sufficiently participate in the conspiracy,
                              maintain contact with traders from other banks
                              and actively conceal their activities, had the
                              artificially widening spreads on FX instruments.

                              The effects of Defendants’ collusive conduct
                              was to raise and stabilize prices at least on FX
                              spot, forward, and swap transactions, in at least
                              52 currency pairs, on trades of all sizes, for all
                              customers who received liquidity, traded
                              through single bank platforms or as voice
                              trades.

6) Do You contend that the    As stated in the Singer Merits Report and the        Partial designation (FRE
alleged unlawful              Reply Report of Hal J. Singer, Ph.D. (August         106); Irrelevant (FRE 401
agreement led to increased    13, 2020) (“Singer Reply”) Defendants’               & 402); Unfair prejudicial,
adverse selection risk that   conspiracy, collusive conduct, and acts in           confusing the issues, (FRE
lead to wider spreads for     furtherance of the conspiracy, directly widened      403).
Class members, as set         Defendants’ bid-ask spreads and had the effect
forth in Dr. Hal Singer’s     of increasing adverse selection risk, causing
Merits Report at ¶ 50? If     wider spreads on FX transactions. As Dr. Singer
Your response is anything     explains, “adverse-selection risk . . . is a
other than an unqualified     standard economic principle, according to
“no:” explain in detail       which spreads will be widened when market
what acts generated such      participants are obliged to transact with better-
increased adverse selection   informed counterparties such as the Defendant
risk, how such increased      dealers here.” Singer Merits Report at ¶ 50.
adverse selection risk        Additionally, as explained by Professors
influenced transaction        Bjonnes and Ljungqvist, “market makers
prices in the FX markets,     understand this risk and set their bid-ask quotes
and the effect of such        to ensure that they will make enough profit
increased adverse selection   when dealing with uninformed traders to

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        Defendants’                       Plaintiffs’ Response                    Plaintiffs’ Objections
       Interrogatory
risk on spreads quoted by    compensate for the losses they make when
Defendants to Class          unknowingly dealing with informed traders. As
members on all FX-           adverse selection risk increases, spreads widen
Related transactions.        in the market.” Expert Report of Bjonnes and
                             Ljungqvist (May 31, 2018)at ¶ 82. Defendants’
                             coordinated exploitation of shared CSI
                             increased adverse selection risk, therefore
                             widened spreads across the FX market.

                             FX prices are strongly affected by information
                             asymmetries—that is, the risk of trading with a
                             better informed counterparty. Singer Reply at ¶
                             92; Callaghan Dep. at 122:24-123:5, 128:21-
                             129:11; E. Robin Dep. at 59:11-23. Defendants’
                             conspiracy, and acts in furtherance of that
                             conspiracy, “exacerbated informal asymmetries
                             in the interbank segment of the market.” Singer
                             Reply at ¶ 92. As better-informed Defendants
                             exchanged and exploited valuable CSI, non-
                             Defendants were at a greater informational
                             disadvantage. Id.

                            Trading in the interbank segment is anonymous.
                            Participants in the interbank segment, whether
                            or not they were a member of the conspiracy,
                            did not know whether a potential counterparty
                            to a transaction was better-informed. Id. ¶ 93.
                            This would result in wider bid-ask spreads, as
                            participants in the interbank segment widened
                            spreads to protect themselves from greater
                            adverse selection risk. Because of the tight
                            linkages between the interbank and dealer-to-
                            customer segments, wider spreads in the
                            interbank segment would necessarily have
                            caused wider spreads in the dealer-to-customer
                            segment, and vice-versa. Id.
14) Do You contend that     Trading for FX forwards and FX swaps are            Partial designation (FRE
Defendants that the alleged based on the spot rate. The rate for a forward      106); Irrelevant (FRE 401
unlawful agreement led to transaction is the spot rate for that currency pair   & 402); Unfair prejudicial,
wider bid-ask spreads for   plus “forward points” representing the interest     confusing the issues, (FRE
Class members’ FX           rate differential between the two currencies over   403).
forwards, FX swaps, and     the period from the spot value date to the
FX options transactions? If forward value date. As such, if the spot rate has
Your response is anything widened, so too will the forward rate have

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        Defendants’                        Plaintiffs’ Response                   Plaintiffs’ Objections
       Interrogatory
other than an unqualified    widened. See, e.g., Robin Merits Report at ¶ 32;
“no:” identify the           Yanez Dep. at 63:7-16 (testifying that spot
mechanisms or processes      transaction is a foundation for other instruments
leading to such changes in   and the prices of other FX instruments are
the markets for FX           derived from underlying FX spot transactions).
forwards, FX swaps, and      Therefore, Plaintiffs contend that just as the
FX options.                  Defendants’ conspiracy fixed FX prices by
                             artificially widening spreads on FX spot
                             transactions so too did Defendants’ conspiracy
                             fix prices by artificially widening spreads on
                             forwards transactions. Likewise, swaps are
                             combinations of two outright forwards in
                             opposite directions. Swaps are priced from spot
                             rates with the addition of “swap points.” Any
                             change in the spot rate will result in a change to
                             the swap rate. Swaps are damaged only to the
                             extent that they are unbalanced, because if one
                             leg is damaged the other leg profits.. See Report
                             of Geir Bjønnes and Alexander Ljungqvist in
                             Support of Class Certification at ¶ 46.




   K. LIST OF IN LIMINE MOTIONS

                                                                                       ECF No. of
               Motion in Limine                  ECF No.                Status
                                                                                         Order
    Plaintiffs’ Motion in Limine No. 1 to       1712           Resolved via Court-    1790
    Exclude Percipient Witnesses from the                      Ordered stipulation
    Courtroom Unless They Are Testifying
    Plaintiffs’ Motion in Limine No. 2 to       1719           Fully briefed
    Exclude Evidence and Argument
    Regarding Purported Pro-Competitive
    Justifications and Absence of
    Anticompetitive Effects
    Plaintiffs’ Motion in Limine No. 3 to       1722           Fully briefed
    Exclude Evidence and Testimony
    About Existence of the Conspiracy and
    Anticompetitive Conduct Through
    Defense Expert Witnesses




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                                                                           ECF No. of
          Motion in Limine                ECF No.          Status
                                                                             Order
Plaintiffs’ Motion in Limine No. 4 to    1728       Resolved via Court-   1789
Exclude Mention of Treble Damages                   Ordered Stipulation
or Attorneys’ Fees
Plaintiffs’ Motion in Limine No. 5 for   1733       Fully briefed
Order that Co-Conspirator Statements
Are Within the Fed. R. Evid.
801(d)(2)(E)
Plaintiffs’ Motion in Limine No. 6 to    1740       Fully briefed
Exclude Testimony and Argument that
This Case Involves Multiple Markets
Plaintiffs’ Motion in Limine No. 7 to    1747       Fully briefed
Exclude Argument and Evidence
Conflating Spread Pricing Information
with “Market Color”
Plaintiffs’ Motion in Limine No. 8 to    1754       Fully briefed
Exclude Expert Testimony Regarding
Intent, State of Mind or Motive
Credit Suisse Defendants’ Motion in      1710       Fully briefed
Limine No. 1 to Exclude Evidence of
Consent Order with the New York
State Department of Financial Services
Credit Suisse Defendants’ Motion in      1714       Fully briefed
Limine No. 2 to Exclude the Testimony
of Persons Invoking their Fifth
Amendment Protection Against Self-
Incrimination
Credit Suisse Defendants’ Motion in      1726       Fully briefed
Limine No. 3 to Exclude Evidence of
Criminal Prosecutions of Non-Credit
Suisse Persons and Entities
Credit Suisse Defendants’ Motion in      1736       Fully briefed
Limine No. 4 to Exclude Factual
Admissions Contained in Guilty Pleas
and Plea Allocutions of Non-Credit
Suisse Persons and Entities
Credit Suisse Defendants’ Motion in      1744       Fully briefed
Limine No. 5 to Exclude Evidence of
Non-Credit Suisse Consent Orders and
Regulatory Settlements



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                                                                                     ECF No. of
            Motion in Limine                  ECF No.              Status
                                                                                       Order
 Credit Suisse Defendants’ Motion in        1750           Fully briefed
 Limine No. 6 to Exclude Evidence
 Concerning the Board of Governors of
 the Federal Reserve Systems
 Investigations of and Findings
 Concerning Peter Little and Michael
 Weston
 Credit Suisse Defendants’ Motion in        1758           Fully briefed
 Limine No. 7 to Exclude Internal Bank
 Policies Evidence
 Credit Suisse Defendants’ Motion in        1764           Fully briefed
 Limine No. 8 to Exclude Evidence
 Concerning Subsequent Remedial
 Measures
 Credit Suisse Defendants’ Motion in        1770           Fully briefed
 Limine No. 9 to Exclude
 Communications Without a Direct
 Connection to United States
 Commerce
 Credit Suisse Defendants’ Motion in        1775           Fully briefed
 Limine No. 10 to Exclude Other Bad
 Acts Evidence
 Credit Suisse Defendants’ Motion in        1779           Fully briefed
 Limine No. 11 to Preclude Keith
 Underwood From Testimony and to
 Exclude Reports and Statements
 Authored by Keith Underwood in
 Separate Proceedings Involving UBS
 AG


L. STIPULATIONS OF UNCONTESTED FACTS

       The parties stipulate to the following facts. In light of the Court’s Trial Management

Order, the parties are working to identify additional uncontested facts and will submit a

stipulation by September 9, 2022.

       1.      During the Class Period, between $3 trillion and $5.3 trillion USD per day was

traded in the FX market for all FX instruments worldwide, with up to $1.3 trillion of that total per

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day traded in the United States in some years. Daily FX spot transactions volume alone doubled

between 2007 and 2013, from approximately $1 trillion to $2 trillion. See 03/05/21 Pls.’ Response

to Rule 56.1 at ¶ 42.

       2.      Trading in the FX market occurs 24 hours per day and over 252 trading days per

year. The following chart illustrates the 24-hour nature of the OTC market:




See 03/05/21 Pls.’ Response to Rule 56.1 at ¶ 43.

       3.      During the Class Period, FX trading by volume is primarily done over-the-counter

(“OTC”) in that counterparties trade with each other without a formalized exchange. See 03/05/21

Pls.’ Response to Rule 56.1 at ¶ 44.

       4.      Currencies are bought or sold in pairs. See 03/05/21 Pls.’ Response to Rule 56.1 at

¶ 45; CS Answer to Third Consolidated Amended Complaint (ECF No. 682) at ¶ 83.

       5.      Trading in the FX marketplace generally occurs in two different “tiers” or

segments: the interdealer or interbank segment and the dealer-to-customer segment.

       6.      In the interdealer segment, market makers and other liquidity providers trade

currencies with each other to lay off risk from buy-side orders, access liquidity to fill customer



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orders for currencies that they do not have in their own inventories, and to manage risk

profitability. See 03/05/21 Pls.’ Response to Rule 56.1 at ¶ 51.

        7.      The difference between the bid price and the ask price is the bid-ask spread or

spread. See 04/09/21 CS Response to Rule 56.1 at ¶ 185.

        8.      A spread matrix is sometimes referred to as a spread grid. See 04/09/21 CS

Response to Rule 56.1 at ¶ 230.

M. DAMAGES STATEMENT

        ’Plaintiffs do not seek damages in this trial.

N. OTHER REQUESTED RELIEF

        Plaintiffs request that they be awarded their costs, expenses incurred since January 1,

2018 and attorneys’ fees to the extent allowed by law.

        Credit Suisse objects that Plaintiffs are not entitled to costs, expenses, or attorneys’ fees,

for which they have provided no basis and would oppose any request for fees to be awarded at

this stage, particularly because Plaintiffs are not trying (and cannot prevail in this trial on) all the

elements of their Sherman Act claim. Credit Suisse reserves all rights.

O. UNANIMOUS VERDICT

        The parties do not consent to less than a unanimous verdict.




 August 26, 2022                                         Respectfully Submitted,




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